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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BAKARR BANGURA                                      : Civil Action No. 11-2793
                                                    :
       v.                                           : Jury Trial Demanded
                                                    :
ELWYN, INC.                                         :
                                                    :

                                            ORDER

       AND NOW, this ______ day of ____________, 2011, upon consideration of Defendant

Elwyn, Inc.'s Motion to Dismiss Plaintiff’s Complaint, and any response thereto, it is hereby

ORDERED that the Motion to Dismiss is GRANTED. Plaintiff’s Complaint is DISMISSED

with prejudice.



                                                BY THE COURT:




                                                                                  J.
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                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BAKARR BANGURA                                          : Civil Action No. 11-2793
                                                        :
        v.                                              : Jury Trial Demanded
                                                        :
ELWYN, INC.                                             :
                                                        :

  DEFENDANT ELWYN INC.’S MOTION TO DISMISS PLAINTIFF'S COMPLAINT

        Defendant, Elwyn, Inc., by and through undersigned counsel, hereby files this motion to

dismiss the Plaintiff's Complaint, pursuant to Federal Rule of Civil Procedure 12(b)(6). In

support of this motion, Defendant incorporates the attached Memorandum of Law dated July 13,

2011. Moving Defendant therefore requests this Court to dismiss with prejudice any and all

claims asserted by Plaintiff against it.

        Wherefore, Moving Defendant respectfully requests that this Honorable Court grant this

Motion to Dismiss.

                                           MARSHALL, DENNEHEY, WARNER,
                                           COLEMAN & GOGGIN


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BAKARR BANGURA                                            : Civil Action No. 11-2793
                                                          :
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                                                          :
ELWYN, INC.                                               :
                                                          :

 MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT'S MOTION TO DISMISS

           Defendant, Elwyn, Inc., by and through undersigned counsel, hereby submits this

memorandum of law in support of its Motion to Dismiss.

      I.          INTRODUCTION AND PROCEDURAL HISTORY

           Plaintiff initiated this action on April 27, 2011 by filing an application to proceed in

forma pauperis with the Court. On May 2, 2011, the Court issued an order granting Plaintiff's

motion and requiring him to file his right to sue letter within 30 days or his failure to do so would

result in the dismissal of his complaint. Plaintiff's Complaint alleging claims under the

Pennsylvania Human Relations Act ("PHRA") was also docketed on May 2, 2011.

           Although the Plaintiff had not yet filed a copy of his right to sue letter, the Court issued a

second order on May 16, 2011ordering the United States Marshal of the Eastern District to serve

a copy of the complaint upon the Defendant and service was completed on June 21, 2011.

           Defendant now moves to dismiss Plaintiff's Complaint pursuant to Federal Rule of Civil

Procedure 12(b)(6) for failure to state a claim as Plaintiff has failed to exhaust his administrative

remedies as required by the PHRA.

     II.          FACTUAL BACKGROUND

           Plaintiff was employed with Elwyn Inc. in September of 2008 and working the 11 pm – 9

am shift as a Community Living Assistant. (Compl. at p. 3 Section E.) Part of his duties
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included providing basic care and medication administration to residents of the Thornbury

Program. (Compl. at p. 4.) On the morning of September 5, 2008, Plaintiff alleges that,

although it was the responsibility of another employee, he was required to complete the morning

hygienic care routine for a client when the other employee failed to do so. (Compl. at p. 4) In

caring for the client, Mr. Bangura required the assistance of a non-Elwyn employee to clean

feces off of the client in order to ensure that the client would make it to his day program on time.

(Compl. at p. 4) Plaintiff contacted the Program Director to report the incident and was

subsequently suspended from work and eventually dismissed on October 7, 2008. (See Compl. at

p. 4 and Plaintiff's Charges of Discrimination filed with the EEOC and attached hereto as Exhibit

A.)1

           Feeling that he was unfairly treated, Plaintiff filed a charge with the Pennsylvania Human

Relations Commission on September 14, 2009 (Compl. at p. 4 Section D.)


    III.          LEGAL STANDARD


           Defendant requests dismissal of Plaintiff's Complaint pursuant to Federal Rule of Civil

Procedure 12(b)6) for failure to state a claim for which relief can be granted. In order to survive

a motion to dismiss “a complaint must contain sufficient factual matter, accepted as true, to ‘state

a claim to relief that is plausible on its face.’” Griffin-El v. Beard, Civil Action No. 06-2719,

2009 U.S. Dist. 92975 (E.D. Pa. Oct, 6, 2009) (quoting) Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949

1
  Pursuant to Federal Rule of Evidence 201, Defendant requests this Court take judicial notice of the information
contained within Plaintiff's EEOC Charge of Discrimination, attached hereto as Exhibit A. See Smith v. Litton Loan
Servicing, No. 04-2846, 2005 U.S. Dist. LEXIS 1815, at * 18 (E.D. Pa. Feb. 4, 2005); See also Animal Sci. Prods. v.
China Nat'l Metals & Minerals Imp. & Exp. Corp., 702 F. Supp. 2d 320, 401-402 (D.N.J. 2010)(discussing propriety of
taking judicial notice of documents of record in administrative proceedings). Although this filing was not presented as
an exhibit to the Complaint in this matter, its recognition pursuant to judicial notice does not trigger the conversion
of this 12(b)(6) motion to a motion for summary judgment . Pryor v. Nat'l Collegiate Athletic Ass'n, 288 F.3d 548,
560 (3d Cir. 2002) ; see also Anspach v. City of Philadelphia, 503 F.3d 256, 273 n.11 (3d Cir. 2007) (court may take
judicial notice of public records when ruling on Rule 12(b)(6) motions to dismiss).



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(2009). In deciding a motion to dismiss, a court must determine whether the complaint “pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Id. (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 556

(2007)). “The plausibility standard is not akin to a ‘probability requirement,’ but it asks for more

than a sheer possibility that a defendant has acted unlawfully.” Id. “Where a complaint pleads

fact that are ‘merely consistent with’ a defendant’s liability, it stops short of the line between

possibility and plausibility of entitlement to relief.” Id.

          “The tenet that a court must accept as true all of the allegations contained in a complaint

is inapplicable to legal conclusions.” Iqbal, 129 S.Ct. at 1949. “Threadbare recitals of the

elements of a cause of action, supported by mere conclusory statements, do not suffice.” Id.

Further, “only a complaint that states a plausible claim for relief survives a motion to dismiss.”

Id. at 1950.

    IV.          ARGUMENT

          In order to initiate a civil action pursuant to the PHRA, a plaintiff must first have filed an

administrative complaint with the PHRC within 180 days of the alleged act of discrimination.

See 43 Pa. Cons. Stat. Ann. § 959(g). "Whether the filing requirements have been satisfied is a

matter of Pennsylvania law, and one that has been strictly interpreted by Pennsylvania courts."

Scott v. Metropolitan Life Ins. Co., 2000 U.S. Dist. LEXIS 11016, 8-9 (E.D. Pa. Aug. 7,

2000)(citing Vincent v. Fuller Co., 532 Pa. 547, 616 A.2d 969, 974 (Pa. 1992)). Thus, a

complainant who failed to timely file with the PHRC is precluded from seeking judicial remedies

under the PHRA. DiSantis v. Koolvent Aluminum Prods., 1998 U.S. Dist. LEXIS 4039, 3-5

(E.D. Pa. Mar. 25, 1998)(citing Woodson v. Scott Paper Co., 109 F.3d 913, 925 (3d Cir. 1997)).

          In his charge of discrimination filed with the EEOC, Plaintiff states that October 7, 2008

was the latest date of discrimination by Elwyn. To comply with the 180 day requirement of the


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PHRA, Plaintiff must have filed his complaint with the PHRC before April 6, 2009. However,

Plaintiff did not file his complaint until September 14, 2009, 342 days after the last incident of

alleged discrimination. As Plaintiff failed to timely file a complaint with the PHRC and exhaust

his administrative remedies, he is precluded from pursuing his claim against the Defendant in

this matter.

     V.          CONCLUSION

          For the foregoing reason, Defendant requests that it's Motion to Dismiss be granted and

Plaintiff's Complaint be dismissed with prejudice.



                                       MARSHALL, DENNEHEY, WARNER,
                                       COLEMAN & GOGGIN


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DATE: July 13, 2011




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                                            :
ELWYN, INC.                                 :
                                            :
                               CERTIFICATE OF SERVICE

        I, JOHN P. GONZALES, being duly sworn according to law, hereby certify that
Defendant's Motion to Dismiss was forwarded to all counsel of record on July 13, 2011 and was
sent via first class mail, postage prepaid to the last known address of other parties or their
representatives.

Bakarr Bangura
151 South Bishop Avenue, F-21
Secane, PA 19018




                                    MARSHALL, DENNEHEY, WARNER,
                                    COLEMAN & GOGGIN


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